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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

 ROGELIO RAMOS AND SILVIA                        §
 RAMOS                                           §
     Plaintiffs,                                 §
                                                 §
 v.                                              §             CIVIL ACTION NO. 7:16-cv-00657
                                                 §
 ALLSTATE VEHICLE AND                            §
 PROPERTY INSURANCE COMPANY                      §
 AND RICARDO NIEVES,                             §
      Defendants.                                §

              AGREED STIPULATION OF DISMISSAL WITH PREJUDICE


       Plaintiffs, Rogelio Ramos and Silvia Ramos (“Plaintiffs”) and Defendant Allstate Vehicle

and Property Insurance Company (“Defendant”) herby file this Agreed Stipulation of Dismissal

with Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(ii).

       1.      Plaintiffs moves to dismiss the entire suit with prejudice. Defendant agrees to the

               dismissal.

       2.      This case is not a class action and a receiver has not been appointed.

       3.      This dismissal is with prejudice. The parties have agreed that each party will bear

               its own costs of suit.

                                                     Respectfully submitted,

                                                     By: 1      /s/ Philip K. Broderick           1
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                                                             ROGELIO RAMOS AND
                                                             SILVIA RAMOS
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                                   AND


                                   By: 1 /s/ Rosemary Conrad-Sandoval                   11
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                                        INSURANCE COMPANY




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